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United States of America


                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                       Plaintiff,                   Case No. 1:22-cv-329-BLW

 v.                                                 MOTION FOR A PRELIMINARY
                                                    INJUNCTION
 THE STATE OF IDAHO,

                       Defendant.
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                              THE UNITED STATES’
                      MOTION FOR A PRELIMINARY INJUNCTION

        Plaintiff the United States of America respectfully moves for a preliminary injunction against

the State of Idaho—including all of its officers, employees, and agents—prohibiting enforcement of

Idaho Code § 18-622(2)-(3) as applied to EMTALA-mandated care. The United States’ arguments in

support of this motion are fully set forth in the attached memorandum of law and supporting

declarations.

Dated: August 8, 2022                                  Respectfully submitted,

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